                                   Case 16-11446-PGH                   Doc        Filed 07/25/19            Page 1 of 16
 Fill in this information to identify the case:
 Debtor 1    Rafael Antonio Restrepo

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the SOUTHERN District of FLORIDA

 Case number 16-11446-JKO

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: HSBC BANK USA, NATIONAL ASSOCIATION Court claim no. (if known): 5-2
TRUSTEE FOR DEUTSCHE ALT-A SECURITIES, INC.
MORTGAGE LOAN TRUST, SERIES 2007-AR3 MORTGAGE
PASS-THROUGH CERTIFICATE
Last 4 digits of any number you use to                Date of payment change: 9/1/2019
identify the debtor’s account: 5781                   Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $2,345.02
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        ________________________________________________________________________________________________________
                        ____________________________________

         Current escrow payment: $641.07                             New escrow payment: $628.60


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                    New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:




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 Debtor 1 Rafael Antonio Restrepo                                     Case number (,fknown) 16-11446-JKO
          Print Name        Middle Name      last Name




             Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor

      ■ I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

 JC /s/ Keith Labell                                Date   July 24, 2019
     Signature



  Print                Keith Labell                                                                   Title    Authorized Agent for Creditor
                   First Name                       Middle Name      Last Name


  Company          Robertson. Anschutz & Schneid. P.L.


  Address          6409 Congress Ave. Suite 100
                   Number       Street


                       Boca Raton FL 33487
                   City                                                  State        ZIP Code

  Contact Phone 470-321-7112                                                                          Email     klabell@rasflaw. com


**Please Note: The current payment amount referenced in the attached escrow statement is incorrect due to the current payment
figure containing an incorrect escrow figure. However, the current escrow figure contained in this notice itself, and the new escrow
payment contained in the previously filed Notice of Payment Change, is correct.




Official Form 410S1                                      Notice of Mortgage Payment Change                                                     page 2
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                                           CERTIFICATE OF SERVICE
                                                                   July 25, 2019
               I HEREBY CERTIFY that on ____________________________________________________________,
I electronically filed the foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:


ALEJANDRO SIXTO
7975 NW 155TH STREET, SUITE B
MIAMI LAKES, FL 33016

ROBIN R. WEINER
POB 559007
FORT LAUDERDALE, FL 33355

OFFICE OF THE US TRUSTEE
51 S.W. 1ST AVE.
SUITE 1204
MIAMI, FL 33130

RAFAEL ANTONIO RESTREPO
953 SW 146 TERR.
PEMBROKE PINE, FL 33027

                                                                          Robertson, Anschutz & Schneid, P.L.
                                                                          Authorized Agent for Secured Creditor
                                                                          6409 Congress Ave., Suite 100
                                                                          Boca Raton, FL 33487
                                                                          Telephone: 470-321-7112
                                                                          Facsimile: 561-997-6909

                                                                              /s/ Dena Eaves
                                                                          By: _________________________
                                                                              Dena Eaves
                                                                              deaves@rascrane.com




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A@9@6<;8@F=@6@:A;22@6@87@<:3=:E@477566@AH¡=@8:CCD;7:GD@B9=@D@99@6¢o¢G@>;A@:8:<4589;8A;7:9@>9=:9:C:3<@8946A;>G56>@<@89=:>
8493@9477566@AG59;>@>9;<:9@A9447756:>>=4F8H8:>9@6;>£¤¥¦G@>;A@:8:<4589;8A;7:9@>:A;22@6@87@264<C64@79@A:79;E;93@;9=@6;89=@
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